 1   Kirk D. Miller
     Kirk D. Miller, P.S.
 2   421 W. Riverside Avenue
     Suite 660
 3   Spokane, WA 99201
     (509) 413-1494 Telephone
 4   (509) 413-1724 Facsimile
     kmiller@millerlawspokane.com
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 6
                     IN THE UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF WASHINGTON
 7
     KELLI GRAY, et al and all others
                                    )
 8   similarly situated,            )   Case No.: 2:09-CV-00251-SAB
                                    )   SECOND MOTION FOR LEAVE TO
 9            Plaintiffs,           )   FILE SECOND AMENDED
                                    )   COMPLAINT
10        v.                        )
                                    )
11   SUTTELL & ASSOCIATES, et al.,  )
                                    )
12            Defendants.           )
                                    )
13   EVA LAUBER, et al.,            )
                                    )
14            Plaintiffs,           )
                                    )
15        v.                        )
                                    )
16   ENCORE CAPITAL GROUP, INC., et )
     al.,                           )
17                                  )
              Defendants.           )
18
     ///
19

20
      PLAINTIFFS’ SECOND MOTION
21    FOR LEAVE TO FILE SECOND
      AMENDED COMPLAINT -1
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 1                                           I. MOTION

 2         Plaintiffs, by and through their attorney Kirk D. Miller of Kirk D. Miller,

 3   P.S., move the Court for an Order granting leave to file an amended complaint in

 4   this matter. A copy of the proposed amendment is attached hereto as Exhibit A.

 5                                       II. BACKGROUND

 6         On August 12, 2009, Plaintiff Kelli Gray filed this lawsuit. ECF No. 1. By

 7   January 6, 2010, all Defendants had been served or waived service, had appeared

 8   through counsel, and filed answers to the complaint. ECF Nos. 2 – 9, 11 – 13. On

 9   July 12, 2010, Plaintiffs filed their first motion for class certification. ECF No. 28.

10   By stipulation of the parties, the Court continued the motion for class certification,

11   along with several other discovery motions pending at the time until February 16,

12   2011, and issued a new scheduling order. ECF No. 101.

13         On November 10, 2010, Lauber et. al. v. Encore Capital Group, Inc. was

14   filed with the Court under case no. 2:10-cv-05132-LRS. Lauber was a class action

15   involving the same parties and many of the same causes of action. On November

16   19, 2010, Plaintiffs moved to consolidate the Lauber case with the Gray case. On

17   December 29, 2010, over Defendants’ opposition, the Court consolidated the two

18   cases. With the motion to consolidate pending, on December 3, 2010, the Court

19   stayed scheduled depositions until after ruling on the motion to consolidate. ECF

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      PLAINTIFFS’ SECOND MOTION
21    FOR LEAVE TO FILE SECOND
      AMENDED COMPLAINT -2
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 1   No. 171. On February 14, 2011, after the Lauber case was consolidated with Gray,

 2   Plaintiffs moved to amend/correct the complaint. ECF No. 223.

 3         On March 23, 2011, at the hearing on Plaintiff’s motion for class

 4   certification, the Encore defendants announced that they had reached a nation-wide

 5   settlement of the robo-signing issue in Midland Funding, LLC v. Brent, No. 3:08-

 6   cv-1434-DAK (N.D. Ohio). On April 15, 2011, the Court ruled on multiple

 7   motions heard on March 23, 2011. ECF No. 299. In order to avoid violating an

 8   injunction issued by the Brent court, this Court denied, with leave to renew,

 9   Plaintiffs’ motions for class certification. Id. The Court granted Plaintiffs’ motion

10   to amend/correct the complaint. Id. The first Amended Complaint was filed on

11   April 8, 2011. ECF No. 297.

12         The Brent settlement was challenged and the NDOH decision approving the

13   settlement was ultimately reversed in the Sixth Circuit Court of Appeals. The

14   Midland defendants quickly settled a nation-wide class with a different Ohio

15   plaintiff, Vassalle, under slightly modified settlement terms and the settlement was

16   again challenged on appeal (the Vassalle matter).

17         On March 19, 2012, the Court granted the Encore Defendants’ motion to

18   compel arbitration which stayed Plaintiff Lauber’s claims pending completion of

19   arbitration. ECF No. 410. However, Defendants did not initiate an arbitration.

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     PLAINTIFFS’ SECOND MOTION
21   FOR LEAVE TO FILE SECOND
     AMENDED COMPLAINT -3
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 1          On February 8, 2013, this Court ordered certified questions on state law sent

 2   to the Washington State Supreme Court. ECF No. 447. The case was again stayed

 3   pending ruling on the certified questions and a mandate from the Sixth Circuit

 4   Court of Appeals. ECF No. 448. On May 13, 2014, Michael Kinkley, lead

 5   counsel for the Plaintiffs, passed away. The stay was lifted on October 1, 2014

 6   following the Washington Supreme Court’s decision on the certified questions.

 7   ECF No. 464. On December 18, 2014, a second amended scheduling order was

 8   entered. ECF No. 469.

 9          On February 2, 2015, Plaintiffs filed their second motion to amend/correct

10   the complaint. ECF No. 472. On March 24, 2015, Plaintiffs gave notice to the

11   Court regarding a motion to enforce/hold the Gray Plaintiffs in contempt, filed by

12   the Encore and Midland defendants in the Vassalle matter. ECF No. 488. On

13   March 25, 2015, the Court ordered another stay on Plaintiffs second motion to

14   amend complaint pending ruling on the defendants’ motion in Vassalle. ECF No.

15   489.

16          On September 1, 2015, Judge Shea entered an Order extending the discovery

17   cutoff. ECF No. 554. On November 25, 2015, Judge Shea entered an order of

18   recusal for himself and the case was transferred to Judge Peterson. ECF No. 566,

19   567.

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     PLAINTIFFS’ SECOND MOTION
21   FOR LEAVE TO FILE SECOND
     AMENDED COMPLAINT -4
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 1         On February 2, 2016, the Court ruled on Defendants’ second motion for

 2   summary judgment. ECF No. 580. Meanwhile, the Vassalle court ordered the

 3   Plaintiffs and their counsel in this case to withdraw their motion for leave to file

 4   second amended complaint and Plaintiffs complied with the Order, while

 5   simultaneously appealing the contempt finding. ECF No. 581. On December 2,

 6   2016, the Court again stayed the case pending a decision on appeal of the contempt

 7   finding. ECF No. 588. Once a decision was made on the contempt appeal,

 8   Plaintiffs promptly notified this court, and the stay was lifted on August 24, 2017.

 9   ECF No. 598. On the same day, Judge Peterson recused herself and this matter

10   was reassigned to Judge Bastian. ECF No. 599.

11         The proposed Second Amended Complaint reflects procedural developments

12   since the initial filing of the Complaint and Amended Complaint. The factual and

13   legal allegations are substantially narrowed based on rulings from this Court and

14   from the Sixth Circuit Court of Appeals. No new causes of action have been

15   added. Instead, causes of action barred by the 6th Circuit or already decided on the

16   merits by this Court have been removed. Defendants have been on notice of all

17   claims alleged in the Second Amended Complaint since the inception of this case

18   in 2009. Given the already lengthy procedural history of this case, narrowing of

19   the facts and causes of action will allow the Court to resolve the remaining issues

20   in the most expeditious manner. Amending the Complaint is in the interest of
      PLAINTIFFS’ SECOND MOTION
21    FOR LEAVE TO FILE SECOND
      AMENDED COMPLAINT -5
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 1   justice, advances the efficient administration of justice and does not result in

 2   prejudice.

 3                                        III. ARGUMENT

 4         Fed. R. Civ. P. 15(a)(2) states in relevant part:

 5                In all other cases, a party may amend its pleading only with the
                  opposing party's written consent or the court's leave. The court
 6                should freely give leave when justice so requires.

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     The Court has very broad discretion in granting amendments to a complaint. The
 8
     court rule makes clear that amendments shall be freely given if in the interests of
 9
     justice. Indeed, the United States Supreme Court held that “[o]utright refusal (by a
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     court) to grant the leave without any justifying reason appearing for the denial is
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     not an exercise of discretion; it is merely abuse of that discretion and inconsistent
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     with the spirit of the Federal Rules.” Foman v. Davis, 371 U.S. 178, 182
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     (1962) (cited in Wright, Miller & Kane, Federal Practice and Procedure, Civil 2d
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     §1484). Leave “shall be freely given when justice so requires.” Bowles v.
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     Read, 198 F.3d 752, 757 (9th Cir. 1999). As stated by the Ninth Circuit, “it is
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     generally our policy to permit amendment with ‘extreme liberality.’” Morongo
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     Band of Mission Indians v. Rose, 893 F.2d 1074, 1079 (9th Cir. 1990). During the
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     pretrial phase, a court should allow amendments to ensure that all the issues are
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     before the court. Moore's Federal Practice 3d, §15.14[1].
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      PLAINTIFFS’ SECOND MOTION
21    FOR LEAVE TO FILE SECOND
      AMENDED COMPLAINT -6
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 1         The liberality in granting leave to amend is subject to the qualifications that

 2   amendment of the complaint: (1) does not cause the opposing party undue

 3   prejudice; (2) is not sought in bad faith; and (3) does not constitute an exercise in

 4   futility. DCD Programs, Ltd. v. Leighton, 833 F.2d 183, 186 (9th Cir. 1987). Of

 5   these factors, prejudice to the opposing party is the most critical. Jackson v. Bank

 6   of Hawaii, 902 F.2d 1385, 1387 (9th Cir. 1990). These holdings are made in light

 7   of F.R.C.P.'s liberal policy of favoring amendments to pleadings. United States v.

 8   Webb, 655 F.2d 977, 979 (9th Cir. 1981). The burden is on the party opposing

 9   amendment to make that showing. DCD Programs, 833 F.2d at 187.

10         The Plaintiffs' proposed Amended Complaint, a copy of which is attached

11   and filed herewith, advances the remaining relevant factual allegations and

12   advances the remaining legal and equitable claims. It is beneficial to the Court and

13   non-prejudicial to the Defendants.

14                                      IV.    CONCLUSION

15         Plaintiffs’ amendments do not cause undue delay, prejudice Defendant, have

16   dilatory motives, nor are they futile. Quite the opposite. Plaintiffs seek to ensure

17   that this matter is finally resolved on the merits in the most expeditious manner

18   possible. For this reason, Plaintiffs request that the Court grant its Motion for

19   leave to filed a Second Amended complaint.

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      PLAINTIFFS’ SECOND MOTION
21    FOR LEAVE TO FILE SECOND
      AMENDED COMPLAINT -7
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 1      DATED this 6th day of September, 2017.

 2                                         Kirk D. Miller, P.S.

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 4                                         /s Kirk D. Miller
                                           Kirk D. Miller, WSBA #40025
 5                                         Attorney for Plaintiffs

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     PLAINTIFFS’ SECOND MOTION
21   FOR LEAVE TO FILE SECOND
     AMENDED COMPLAINT -8
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 1                         CM/ECF CERTIFICATE OF SERVICE

 2         I hereby certify that on the 6th day of September, 2017, I electronically filed

 3   the foregoing with the Clerk of the Court using the CM/ECF System which will

 4   send notification of such filing to the following:

 5    Kirk D. Miller            kmiller@millerlawspokane.com;

 6    John D. Munding           munding@crumb-munding.com; Ashley@crumb-
                                munding.com;
 7
      Theodore Seitz            tseitz@dykema.com;
 8
      Bradley Fisher            bradfisher@dwt.com;
 9

10                                                 Kirk D. Miller, P.S.

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12                                                 s/Kirk D. Miller
                                                   Kirk D. Miller, WSBA #40025
13                                                 Attorney for Plaintiffs

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      PLAINTIFFS’ SECOND MOTION
21    FOR LEAVE TO FILE SECOND
      AMENDED COMPLAINT -9
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